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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WISCONSIN



UNITED STATES OF AMERICA,

                     Plaintiff,                                  ORDER

          v.                                                     10-CR-134-WMC-02

CHAD ALLAN WYTTENBACH
(True Name: Chad Allen Wyttenbach),

                     Defendant



       The defendant, Chad Wyttenbach, was sentenced in this court on August 31, 2011. Because

the amount of restitution had not been determined, a hearing was to be set following the related

hearing on restitution and sentencing of co-defendant Eric Edward Garvey. Consistent with the

outcome of that hearing, the government and defendant Wyttenbach have since stipulated that a

restitution balance of $211,395.96, is owing in this matter as set forth in defense counsel’s letter,

dated September 29, 2011. This amount is based on supporting documentation of loss suffered

by the victims stemming from the defendant’s relevant conduct, and appropriate credits for

recovered property. Accordingly,

                                              ORDER

       IT IS ORDERED that the defendant is to pay restitution in the amount of $351,812.96,

which is due and payable immediately to the Clerk of Court for the Western District of Wisconsin,

to be disbursed to the victims identified in the presentence report whose addresses will be provided

to the Clerk of Court in a separate attachment.

       A credit of $140,417 shall be applied toward this obligation. This accounts for the stolen

items that were recovered by law enforcement during the investigation.
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       The entire sum of the restitution obligation is owed jointly and severally with co-defendant

Eric Edward Garvey. Further, $93,777 of the restitution obligation is owed jointly and severally

with co-defendant Victor Trejo.

      The defendant does not have the economic resources to allow for payment of the full amount

of restitution at this time. Nominal payments of a minimum of $200 per month are to commence

within 30 days of his release from custody pursuant to 18 U.S.C. § 3664(f)(3)(B).

      No interest is to accrue on the unpaid portion of the restitution.



      Entered this 5th day of October, 2011.

                                                 BY THE COURT,

                                                 /s/
                                                 _____________________________________
                                                 William M. Conley
                                                 District Judge
